-mc- - J

ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, adoress, Slale Bar number, and
teephone numbar}:
Recording raquesled by and return to:

SHERYL D. NOEL #172551
BARRYL J. HOROWITT #100898
COLEMAN & HOROWITT, LLP File # 12587.01
499 W. Shaw Avenue, Suite 116
Fresno, CA 93704
59) 248-4820 .

ATTORNEY JUDGMENT ASSIGNEE OF
FOR ix] CREDITOR RECORD

SURERIOR-GOURT OF-CALIFORMA-COUNTY-OF- US DISTRICT COURT
STREET AcoRESS: 2900 Tulare Street

 

 

ument6 Filed 07/24/12 Page 1 of 2

 

 

DEFENDANT: MICHAEL WALKER AND JEFF BAKER

MAILING ADDRESS: Same as above FOR RECORDER'S USE ONLY
city AND zip cooe: Fresno, CA 93721
@RANCH NAME: Eastern District
PLAINTIFF: AMEGY BANK NATIONAL ASSOCIATION CASE NUMBER:

1:12-mc-00027-SKO

 

ABSTRACT OF JUDGMENT—CIVIL
AND SMALL CLAIMS

 

[| Amended

FOR COURT USE ONLY

 

1. The judgment creditor [__| assignee of record

applies for an abstract of judgment and represents the following:

a. Judgment debtor's
Name and last known address

| JEFF BAKER
3551 Pegasus Drive
Bakersfield, CA 93308

__|

b. Driver's license no. [last 4 digits] and slate:
c. Social securily no. [last 4 digits]:

d. Summons or notice of eniry of sister-state judgment was personally served or

mailed to (name and address): JEFF BAKER
3351 Pegasus Drive
Bakersfield, CA 93308
2.[__] Information on additional judgment
debtors is shown on page 2.
3. Judgment creditor (name and address):

AMEGY BANK NATIONAL ASSOCIATION, c/o Coleman &

Horowiit, LLP, 499 W. Shaw Ave., Ste. 116, Fresno, GA 93704

Date: July RO | 2012
SHERYL D. NOEL

{TYPE OR PRINT NAME)

|

 

ISSUED

Unknown
Unknown

 

 

 

4. {__] Information on additional judgment

creditors Is shown on page 2,

5. [__] Original abstract recorded in this county:

a. Date:
b. Instrument No.;

yn Ae”

Y U(SIGHATURE OF APPLICANT OR ATTORNEY)
ft lL.

 

6. Total amount of judgment as entered or fast renewed:
$ 8,440,389.69
7. All judgment! creditors and debtors are listed on this abstract.
8. a, Judgment entered on (dafe): June 19, 2012
b. Renewal! entered on (date):
9.C_] This Judoment is is-an installment judgment.

 

[SEAL)

 

This abstract issued on (date):

JUL 24 2002

 

 

 

 

 

10. [__] An [_] execution lien [__] attachment lien
is endorsed on the judgment as follows:

a, Amount: $
b. In favor of (name and address):

11. A stay of enforcement has
a. not been ordered by the court.
b. L__.] been ordered by the court effective until
(dale):

12. a. [x_] 1 certify that this is a true and correct abstract of
the judgment entered in this action.

b.L_] Acer COLAO: MABE et

Clerk, by LOL te , Deputy

 

Form Adapted for Mandatory Use
Jucicial Council of Califotnla
EJ-001 (Rev. January 1, 2008)

ABSTRACT OF JUDGMENT—CIVIL
AND SMALL CLAIMS

ALES

. _ Goda of Civil Procedure, §§ 488.480,
Solutions: - 874, 700,190

us
Case 1:12-mc-00027-SKO Document 6 Filed 07/24/12 Page 2 of 2

 

PLAINTIFF: AMEGY BANK NATIONAL ASSOCIATION

| DEFENDANT: MICHAEL WALKER AND JEFF BAKER

 

CASE NUMBER:

4:12-mc-00027-SKO

 

 

 

NAMES AND ADDRESSES OF ADDITIONAL JUDGMENT CREDITORS:

13. Judgment creditor (name and address):

15. [__] Continued on Attachment 15.
INFORMATION ON ADDITIONAL JUDGMENT DEBTORS:

16. Name and last known address

[ |

| _

Driver's license no. [last 4 digits]

and state: [_]Unknown
Social securily no. flast 4 digits]: | |Unknown
Summons was personally served at or mailed to (address):

Name and tast known address

18.
[ |

|

[Unknown
L__]Unknown
Summons was personally served al or mailed to (address):

[|___

Driver's license no. [last 4 digils]
and state:

Social securily no. [last 4 digits]:

20. |__| Continued on Attachment 20.

14. Judgment creditor (name and address):

17. Name and last known address

[ |

|__ _

Driver's license no. [iasl 4 digits]

and state: [| Unknown
Social security no, [last 4 digits]: [ |Unknown
Summons was personally served at or mailed to (address):

19, Name and last known address

[ |

_

{J Unknown
[_]Unknown

Summons was personally served al or mailed to (address):

|__

Driver's license no. {last 4 digits]
and slate:

Social securily no. [last 4 digits]:

 

EJ-001 [Rev. January 1, 2003]

ABSTRACT OF JUDGMENT—CIVIL

Page 2 of 2

AND SMALL CLAIMS
